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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   NEMAN BROTHERS & ASSOC.,                    CASE NO.: 2:20-cv-11181-CAS-JPR
11   INC.,
12           Plaintiff/Counter-Defendant,        RESPONSE OF THE REGISTER OF

13           vs.                                 COPYRIGHTS TO REQUEST

14   INTERFOCUS, INC., et al.,                   PURSUANT TO 17 U.S.C. § 411(b)(2)

15           Defendants/Counter-Claimants.

16
17           On January 13, 2022, pursuant to 17 U.S.C. § 411(b)(2), the Court requested

18   advice from the Register of Copyrights (the “Register”) on the following question:

19                 [W]hether [the Register] would have refused the

20                 registration of VAu-1-304-334, VAu-1-317-742, and

21                 VAu-1-330-970, if it had known that Neman Brothers was

22                 not the sole author of all of the works included in those

23                 group applications.1

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25      1
          Request to the Register of Copyrights Pursuant to 17 U.S.C. § 411(b)(2) at 1
26   (January 13, 2022) (“Request”).

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 1           By letter dated March 30, 2022 (attached here as Exhibit A), the Court
 2   informed the Register that its Request may have been premature in light of the
 3   Supreme Court’s recent decision in Unicolors, Inc. v. H&M Hennes & Mauritz,
 4   L.P. 2 The Court requested that the Register abstain from responding to the
 5   Request “if [she] deems doing so to be appropriate,” until the Court determines
 6   whether Neman Brothers was aware of its legal obligation to identify the third
 7   party authors of works included in its registrations.3
 8           The Register acknowledges that for the copyright registrations at issue to be
 9   held invalid, the Court must find not only that Neman Brothers & Assoc., Inc.
10   (“Neman Brothers”) included inaccurate information in its applications for
11   copyright registration, but also that it did so “with knowledge that it was
12   inaccurate.” 4 In Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., the Supreme

13   Court clarified that an applicant’s lack of knowledge of either fact or law can

14   preclude a finding that the registration is invalid. Because the Register had

15   completed her review of the Neman Brothers’ applications prior to receipt of the

16   Court’s March 30 letter and had concluded that the third party authorship of works

17   included in the applications raises multiple issues of registrability, the Register

18   believes it would be useful to submit her response to the Court at this time. The

19   Register hereby provides the Court with her analysis of the full scope of potential

20   inaccuracies to assist the Court’s determination under Unicolors.

21           After her review, applying the legal standards and examining practices set

22   forth below, the Register concludes that had the U.S. Copyright Office (“Copyright

23
24       Letter to Kimberley Isbell at 1 (March 30, 2022) (citing Unicolors, Inc. v.
         2

     H&M Hennes & Mauritz, L.P.,___U.S. ___, 211 L.Ed.2d 586 (Feb. 24, 2022).
25     3
         Id.
26
       4
         17 U.S.C. § 411(b)(1)(A).

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 1   Office” or “Office”) known that Neman Brothers was not the sole author of all the
 2   works claimed in the unpublished collections registered under VAu-1-304-334,
 3   VAu-1-317-742, and VAu-1-330-970, the Office would not have registered the
 4   works. Before issuing any registrations, the Office would have communicated
 5   with the applicant to (1) determine if the collections met the eligibility criteria for
 6   the unpublished collection option and (2) resolve the relevant omissions.
 7
 8                                      BACKGROUND
 9
      I.   Examination History
10
           A review of the records of the U.S. Copyright Office (“Copyright Office” or
11
     “Office”) reveals the following:
12
           On January 6, 2017, February 28, 2017, and April 30, 2018, the Copyright
13
     Office received separate applications from Neman Brothers to register two-
14
     dimensional artwork collections titled, respectively, “2016 December Artworks,”
15   “2017 February Artwork,” and “2018 April Artwork.” These three collections
16   contained a combined total of 219 titles, including Subject Design No. 1, Subject
17   Design No. 2, and Subject Design No. 3 (the “Subject Designs”), which are the
18   designs at issue in this litigation. Each application identified Neman Brothers as
19   the sole author (as a work made for hire) of, and copyright claimant for, each
20   collection. The applications stated that the collections were completed in 2016,
21   2017, and 2018, as indicated by their titles, and that the works were unpublished.
22   Based on the representations that the two-dimensional artwork contained in the
23   collections were unpublished, the Office registered each collection of works as an
24   “unpublished collection.” The Office registered “2016 December Artworks” on
25   February 6, 2018, under registration number VAu001304334 with an effective date
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 1   of registration (“EDR”) 5 of January 13, 2017; “2017 February Artwork” on May
 2   23, 2018, under registration number VAu001317742 with an EDR of March 3,
 3   2017; and “2018 April Artwork” on September 24, 2018, under registration
 4   number VAu001330970 with an EDR of April 30, 2018. The Office had no reason
 5   to question the representations in the applications and accepted them as true and
 6   accurate.
 7   II.       The Court’s Request
 8             In its January 11, 2022 Order (the “Order”) which accompanied the Request,
 9   the Court found that “[w]ith respect to 17 U.S.C. § 411’s statutory criteria, Neman
10   Brothers’ registrations for [the Subject Designs] contain inaccurate information in
11   that they do not identify third-party authors of the works contained in those
12   registrations.”6 Defendant and counter-claimant Interfocus Inc. (“Interfocus”)
13   alleged, and Neman Brothers conceded, that “some of the works identified in each
14   registration were authored by third party design studios from whom Neman
15   Brothers purchased rights, who are not named as authors or claimants in the
16   registrations.”7 Deposition testimony and declarations indicated that Neman
17   Brothers’ practice was to modify designs it purchased from other studios.8 Thus,
18   in accordance with section 411(b)(2), the Court requested that the Register advise
19   on “whether knowledge of the third-party authorship of works included in VAu-1-
20
21
           The EDR is the date that the Office received a completed application, the
           5

22   correct deposit copy, and the proper filing fee.
23
         6
           Order on Mot. Summ. J. 26, ECF No. 82 (“Order”); see 17 U.S.C. §
     411(b)(1).
24       7
           Mot. Summ. J. on Copyright Registration Invalidity 1, ECF No. 68.
25
         8
           Order at 8–9.

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 1   304-334, VAu-1-317-742, and VAu-1-330-970 ‘would have caused the register to
 2   refuse registration.’” 9
 3
 4                                         ANALYSIS
 5    I.       Relevant Statute, Regulation, and Agency Practice
 6             An application for copyright registration must comply with the requirements
 7   of the Copyright Act set forth in 17 U.S.C. §§ 408(a), 409, and 410. Regulations
 8   governing applications for registration are codified at 37 C.F.R. §§ 202.1 to
 9   202.24. Further, principles that govern how the Office examines registration
10   applications are set out in the Compendium of U.S. Copyright Office Practices, an

11   administrative manual that instructs agency staff regarding their statutory and

12   regulatory duties and provides expert guidance to copyright applicants,

13   practitioners, scholars, courts, and members of the general public regarding Office

14   practices and related principles of law. The Office publishes regular revisions of

15   the Compendium of U.S. Copyright Office Practices to reflect changes in the law

16   and/or Office practices, which are provided for public comment prior to
     finalization. Here, Neman Brothers applied to register the “2016 December
17
     Artworks” and “2017 February Artwork” as unpublished collections in early 2017,
18
     and applied to register the “2018 April Artwork” as an unpublished collection in
19
     2018. Therefore, the governing principles the Office would have applied to the
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     2016 and 2017 unpublished collection applications are set forth in the version of
21
     the Compendium of U.S. Copyright Office Practices, Third Edition (“COMPENDIUM
22
23
24
          Id. at 27 (quoting Palmer/Kane LLC v. Rosen Book Works LLC, 188 F. Supp.
           9
25   3d 347, 353 (S.D.N.Y. 2016)).
26

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 1   (THIRD)”) that was first released in December 2014. 10 And the principles the
 2   Office would have applied to the 2018 unpublished collection application are set
 3   forth in the updated COMPENDIUM (THIRD) version that was released in September
 4   2017. Because the relevant practices remained similar between the 2014 and 2017
 5   versions,11 the Register’s response cites the 2017 version and also cites the 2014
 6   version where there is variation.
 7               a. Identifying the Author of an Unpublished Collection
 8            In pertinent part, the statutory requirements for copyright registration dictate
 9   that, an “application for copyright registration” must include “the name . . . of the

10   author or authors,” unless the work is anonymous or pseudonymous, as well as

11   “any other information regarded by the Register of Copyrights as bearing upon the

12   preparation or identification of the work or the existence, ownership, or duration of

13   the copyright.”12

14            At the time Neman Brothers submitted its 2016, 2017, and 2018 collections

15   for registration, the Office permitted applicants to register an unlimited number of

16   unpublished works with one application and filing fee.13 This registration

17
18       10
            The Copyright Office released the newest version of the COMPENDIUM
     (THIRD) in January 2021.
19       11
            See U.S. Copyright Office, Redlines Comparing the 2014 and 2017 Versions
20   of the Compendium secs. 1106, 1106.1, 1106.2, 1106.3(E) (2017),
     https://www.copyright.gov/comp3/2017version/redlines/chap1100.pdf.
21       12
            17 U.S.C. §§ 409(2), (10).
22       13
            COMPENDIUM (THIRD) § 1106.1. On February 13, 2019, the Office replaced
     the accommodation for “unpublished collections” with a group registration option
23   for a limited number of unpublished works. See Group Registration of
24   Unpublished Works, 84 Fed. Reg. 3693 (Feb. 13, 2019) (to be codified at 37
     C.F.R. pts 201, 202). Because the unpublished collection accommodation is no
25   longer available, the 2021 version of the COMPENDIUM (THIRD) has deleted most
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 1   accommodation was known as an “unpublished collection.”14
 2         To register multiple unpublished works under this option, all of the elements
 3   in the collection were required to “be created by the same author, or if the elements
 4   were created by multiple authors, at least one of the authors must have contributed
 5   copyrightable authorship to each work in the collection.”15 When completing the
 6   application for an unpublished collection, the applicant was required to identify
 7   “all of the authors who created or co-created any of the elements [in the
 8   collection], even if a particular author did not contribute copyrightable authorship
 9   to all of those elements.”16
10         The Supreme Court has explained that, other than in a work made for hire
11   context, “the author is the party who actually creates the work, that is, the person
12   who translates an idea into a fixed, tangible expression entitled to copyright

13   protection.”17 To be an author, one must have created material that is “sufficiently

14   original to merit protection.”18 Accordingly, “[w]hen completing an application,

15   the applicant should only provide the name(s) of the author(s) who created the

16   copyrightable material that the applicant intends to register.”19 The applicant

17   “should not provide the name of any person who created material that is de

18
     references to it. The 2014 and 2017 versions of the COMPENDIUM (THIRD) include
19
     chapter 1100, section 1106 referenced in this response. See Prior Editions of the
20   Compendium of the U.S. Copyright Office Practices, COPYRIGHT.GOV,
     https://copyright.gov/comp3/prior-editions.html (last visited March 25, 2022).
21       14
            COMPENDIUM (THIRD) §§ 1106, 1106.1.
22       15
            Id. § 1106.1. In addition, “[t]he copyright claimant for all of the elements
     and the collection as a whole must be the same person or organization.” Id.
23       16
            Id. § 1106.3(E).
24       17
            Cmty. for Creative Non-Violence v. Reid, 490 U.S. 730, 737 (1989).
         18
            Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 358 (1991).
25       19
            COMPENDIUM (THIRD) § 613.3.
26

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 1   minimis or uncopyrightable.”20 For example, if an artist seeks to register a work
 2   that consists of a painting of a person and a short phrase coined by someone else,
 3   the artist would only be required to name herself, the author of the painting, on the
 4   application because the creator of the phrase did not contribute copyrightable
 5   material. 21
 6            If the work is a work made for hire, the author is not the individual who
 7   actually created the copyrightable material, but “‘the employer or other person for
 8   whom the work was prepared.’” 22
 9               b. Limitation of Claim and Derivative Works
10            The statutory requirements for copyright registration dictate that an
11   application for registration shall “in the case of a compilation or derivative work”
12   include “an identification of any preexisting work or works that it is based on or

13   incorporates, and a brief, general statement of the additional material covered by

14   the copyright claim being registered.”23

15            If an author adds new copyrightable authorship to an existing work, the new

16   work is generally considered a derivative work.24 A derivative work could be

17
18       20
            Id. § 613.10(C); see also 37 C.F.R. § 202.1(a) (2021) (“Words and short
     phrases such as names, titles, and slogans; familiar symbols or designs; [and] mere
19
     variations of typographic ornamentation, letter or coloring” are “not subject to
20   copyright”).
         21
            See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 359 (1991)
21
     (discussing the “narrow category of works in which the creative spark is utterly
22   lacking or so trivial as to be virtually nonexistent”).
         22
            Cmty. for Creative Non-Violence, 490 U.S. at 737 (quoting 17 U.S.C.
23   § 201(b)).
24       23
            17 U.S.C. § 409(9).
         24
            A “derivative work” is defined as “a work based upon one or more
25   preexisting works, such as . . . [an] art reproduction, abridgment . . . or any other
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 1   based on a work that the author adding new copyrightable authorship owns or a
 2   work that another person owns. Whether owned by another person or owned by
 3   the applicant, material that was previously published or previously registered is
 4   considered “unclaimable,” 25 and an applicant who wants to register a derivative
 5   work that contains an appreciable amount of unclaimable material must exclude
 6   that material by providing “a brief, accurate description of the unclaimable
 7   material in the appropriate field/space of the application.”26 However, “there is
 8   generally no need to limit the claim if the derivative work is solely based on or
 9   derived from unpublished material, unregistered material, or copyrightable
10   material that is owned by the claimant named in the application.” 27
11             c. Identifying the Claimant and Transfer Statements
12         An application for registration must also include “the name and address of

13   the copyright claimant.” 28 To register multiple works using the unpublished

14   collection option, the copyright claimant must have been (1) an author or co-author

15   of all of the works in the collection, or (2) a person or organization that owned all

16   of the rights under copyright that initially belonged to the author or co-authors of

17
18
     form in which a work may be recast, transformed, or adapted. A work consisting
19
     of editorial revisions, annotations, elaborations, or other modifications, which, as a
20   whole, represent an original work of authorship, is a ‘derivative work’.” Id. § 101
     (defining “derivative work”).
21       25
            Unclaimable material is “(i) previously published material; (ii) previously
22   registered material; (iii) material that is in the public domain; and/or
     (iv) copyrightable material that is not owned by the claimant named in the
23   application.” COMPENDIUM (THIRD) § Glossary.
24       26
            Id. §§ 621, 621.1.
         27
            Id. § 507.2.
25       28
            17 U.S.C. § 409(1).
26

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 1   those elements. 29 If the person identified as the claimant did not own the copyright
 2   in one or more of the works in the collection, those works were required to be
 3   removed from the application or excluded from the copyright claim. 30
 4           If the basis for the claimant’s claim to copyright is that it owns all of the
 5   rights under copyright, rather than being the author of all the works in the
 6   collection, then the applicant should provide “a brief statement of how the claimant
 7   obtained ownership of the copyright,” also known as a transfer statement. 31
 8   Copyright applications generally allow the claimant to specify whether it obtained
 9   ownership by written agreement, by inheritance, or by some other means.
10           There is a limited exception to this requirement for joint works. A work is
11   considered a “joint work” if it is “prepared by two or more authors with the
12   intention that their contributions be merged into inseparable or interdependent

13   parts of a unitary whole.” 32 A person must “contribute a sufficient amount of

14   original authorship to the work” to be considered an author of a joint work. 33 An

15   author may satisfy this requirement even if his contribution to the work is less

16   significant than the contributions made by another author, but the author must

17   contribute more than a de minimis amount of copyrightable expression.34

18           If the work submitted for registration is a joint work, no transfer statement is

19   required as long as all the joint authors are named as co-authors and at least one of

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22      29
           COMPENDIUM (THIRD) § 1106.3(G) (citing 37 C.F.R. § 202.3(a)(3)(2017)).
        30
           Id. § 1106.3(G); see also id. § 621.8.
23      31
           17 U.S.C. § 409(5); COMPENDIUM (THIRD) § 1106.3(G).
24      32
           17 U.S.C. § 101 (definition of “joint work”).
        33
           COMPENDIUM (THIRD) § 505.2.
25      34
           Id. § 505.2.
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 1   those joint authors is named as the claimant. 35 However, if the work was created
 2   by two or more authors but does not meet the statutory definition of a joint work,
 3   the applicant should provide a transfer statement explaining how the claimant
 4   obtained ownership of the work(s) created by another author.36
 5   II.        Other Copyright Office Regulations and Practices
 6              The Copyright Office’s regulations require applicants to make a “declaration
 7   . . . that the information provided within the application is correct to the best of [the
 8   applicant’s] knowledge.”37 Generally, the Office “accepts the facts stated in the
 9   registration materials, unless they are contradicted by information provided
10   elsewhere in the registration materials or in the Office’s records.” 38
11              When the Office determines that all of the “legal and formal requirements”
12   of title 17 have been met, it will register the copyright claim and issue a certificate

13   of registration under its seal. 39 There may be instances during the application

14   process, however, where communication between the applicant and the Office is

15   required. For example, it is not unusual for a registration specialist to correspond

16
            Id. § 620.5. The 2014 COMPENDIUM (THIRD) did not provide this exception.
           35
17
     See U.S. COPYRIGHT OFFICE, COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES
18   § 620.5 (3d ed. 2014) (“2014 COMPENDIUM (THIRD)”). The 2014 version required
     applicants to provide a transfer statement “[i]f the joint authors are not named as
19
     the copyright claimants.” Id. The 2017 version clarified that an applicant does not
20   need to provide a transfer statement when less than all of the joint authors are
     named as claimants because joint authors co-own the copyright in each other’s
21
     contribution and each joint author owns an undivided interest in the copyright for
22   the work as a whole. 17 U.S.C. § 201(a); see H.R. REP. NO. 94-1476, at 121,
     reprinted in 1976 U.S.C.C.A.N. at 5736; COMPENDIUM (THIRD) § 505.3.
23       36
            COMPENDIUM (THIRD) § 620.6.
24       37
            37 C.F.R. § 202.3(c)(3)(iii) (2017).
         38
            COMPENDIUM (THIRD) § 602.4(C).
25       39
            17 U.S.C. § 410(a); COMPENDIUM (THIRD) § 602.
26

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 1   with an applicant about factual assertions if the assertions appear to conflict with
 2   other information provided in the application materials. 40
 3            Accordingly, if the Office becomes aware of an error at the time of
 4   application, such as one relating to whether the application appropriately identified
 5   each author who contributed copyrightable authorship to the work, or has questions
 6   about facts asserted in the application, it provides the applicant an opportunity to
 7   correct the error or verify the facts within a specified period of time. If the
 8   applicant responds in a timely fashion to the satisfaction of the Office, the Office
 9   can proceed with the registration. In this case, no errors were identified and no
10   corrective action appeared to be necessary based on the information set forth in the
11   applications and deposits.
12            In responding to the Court’s question, the Register applies the foregoing
13   governing statutory and regulatory standards and examining principles.

14                       REGISTER’S RESPONSE TO THE COURT

15            Based on the foregoing statutory and regulatory standards, and its examining

16   practices, had the Office been aware that Neman Brothers was not the sole author

17   of all the works claimed in its 2016, 2017, and 2018 unpublished collection

18   applications, the Office would not have registered Neman Brothers’ unpublished

19   collections. Instead, the registration specialists would have corresponded with

20   Neman Brothers to obtain several additional pieces of information.

21   Authorship of Each Work in an Unpublished Collection
              First, the registration specialists would have sought to determine whether the
22
     collections satisfy the requirement of the unpublished collection option that each of
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24
25       40
              COMPENDIUM (THIRD) § 603.2(C).
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 1   the works in the collection was either created by the same author or, if the works
 2   were created by multiple authors, that at least one of the authors identified on the
 3   application contributed copyrightable authorship to each work in the collection.41
 4   Here, deposition testimony indicates that the three unpublished collections include
 5   works that were created by Neman Brothers employees, as well as works that were
 6   created by third parties that were purchased by Neman Brothers and to which
 7   Neman Brothers’ employees added material. 42 The specialists would therefore
 8   have inquired whether Neman Brothers contributed copyrightable authorship to
 9   each and every design, as it suggested on its applications.
10           Based on the information provided by the parties in this litigation, the
11   Register has doubts as to whether the collections can meet this requirement.
12   Neman Brothers explained in its filings to the Court that “it was [] standard

13   procedure [for] Neman through its designer [to make] changes to the purchased

14   designs before registration in order to make the designs more cost-efficient in

15   manufacturing,” and thus “for both purchased and internally-created designs, there

16   was at least one author who contributed copyrightable authorship to each of the

17   designs.”43 Neman Brothers does not appear to have specified in its filings that it

18   modified every third-party work in the three unpublished collections, or provided

19   information from which it can be discerned whether the modifications it made to

20   each of the works are sufficient for it to have contributed copyrightable authorship

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24      41
           Id. § 1106.1.
        42
           See Dep. of Yoel Neman 26:20–24, ECF No. 66-2.
25      43
           Neman Brothers’ Opp. To Interfocus’ Second Mot. Summ. J. 5, ECF No. 71.
26

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 1   to every work, as required to have been eligible for the unpublished collection
 2   option. 44
 3            The declaration of Adrineh Mokhtarians provides information about how
 4   Neman Brothers created two of the designs at issue in this litigation.45 One of the
 5   works (NB170268, identified in the Order as Subject Design No. 2) 46 was a design
 6   hand-drawn by a Neman Brothers employee that was inspired by two designs that
 7   had previously been created by Neman Brothers, but includes new creative
 8   authorship.47 Another of the works (NB161106, identified in the Order as Subject
 9   Design No. 1)48 was created by purchasing a design from another studio and
10   adding certain elements to that design.49 But upon review of the images provided
11   by Neman Brothers, it does not appear that the changes Neman Brothers made to
12   the purchased design would constitute copyrightable authorship because they

13   consist of virtually indiscernible modifications. 50

14            Neman Brothers did not provide any information about how Subject Design

15   No. 3 was developed, so the Register cannot opine on whether Neman Brothers

16   contributed copyrightable authorship to that design.

17            Because it is unclear whether any of the collections represent the work of

18   one common author, Neman Brothers’ collections might not have been eligible for

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20       44
            COMPENDIUM (THIRD) §§ 613.3, 1106.1.
         45
            See Decl. of Adrineh Mokhtarians ¶¶ 10–13, ECF No. 71-2.
21       46
            See Order at 6–7.
22       47
            See Decl. of Adrineh Mokhtarians ¶ 10, Ex. 43–46, ECF No. 71-2.
         48
            See Order at 6–7.
23       49
            See Decl. of Adrineh Mokhtarians ¶¶ 11–13, Ex. 47–49, ECF No. 71-2.
24       50
            See Sherry Mfg. Co. v. Towel King of Fla., Inc., 753 F.2d 1565, 1568 (11th
     Cir. 1985) (finding the changes made to a beach towel design insufficiently
25   creative to warrant copyright protection because they are “so minor that they are
26   virtually unnoticeable upon a cursory comparison of the two towels”).

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 1   the unpublished collection option. If the collections did not meet the eligibility
 2   requirements for the unpublished collection option, then certain designs should
 3   have been registered separately.
 4   Identifying the Author(s)
 5            Second, had the registration specialists been aware that the collections
 6   contain third-party authorship, they would have asked Neman Brothers to identify
 7   all of the authors who contributed copyrightable authorship to the works submitted
 8   for registration. As explained above, an application to register an unpublished
 9   collection must identify all the authors who contributed copyrightable authorship
10   to the works claimed in the collection.51 Neman Brothers’ 2016, 2017, and 2018
11   unpublished collections each contain third-party authored designs that Neman
12   Brothers allegedly modified. 52 Neman Brothers named itself as the sole author and

13   claimant, and asserted an unlimited copyright claim to the collections’ designs.

14   Therefore, Neman Brothers failed to “identify all of the authors who created or co-

15   created” the elements claimed in the unpublished collections. 53 Additionally, as

16   explained above, Neman Brothers does not appear to have contributed

17   copyrightable authorship to Subject Design No. 1, and therefore should not be

18   identified as an author of that work. 54

19   Limitation of Claim and Derivative Authorship

20            Third, had the registration specialists been aware of the facts as now

21   presented, they would have inquired as to whether Neman Brothers’ claims should

22   have been limited. Neman Brothers’ modified designs are based on or incorporate

23       51
            17 U.S.C. § 409(2); COMPENDIUM (THIRD) § 1106.1.
24       52
            See Dep. of Yoel Neman 26:20–24, ECF No. 66-2.
         53
            COMPENDIUM (THIRD) § 1106.3(E).
25       54
            Id. § 613.3.
26

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 1   preexisting designs. Therefore, these modified designs are derivative works. 55 As
 2   explained above, “there is generally no need to limit the claim if the derivative
 3   work is solely based on or derived from unpublished material, unregistered
 4   material, or copyrightable material that is owned by the claimant named in the
 5   application,” unless that material was previously published or registered. 56
 6   However, if the designs in the collection contain an appreciable amount of
 7   unclaimable material, such as previously published or registered designs, then that
 8   material should have been identified and excluded from Neman Brothers’ 2016,
 9   2017, and 2018 unpublished collection claims. 57
10            Yoel Neman’s deposition testimony indicates that certain designs in the
11   collections are newer versions of previously registered designs.58 If the Office had
12   been aware of that fact at the time of examination, the registration specialists

13   would have confirmed whether the derivative works contain new authorship with a

14   sufficient amount of original expression that is not a “merely trivial” variation on

15   the preexisting works. 59 If the modifications contained sufficient derivative

16   authorship, the specialists would have asked Neman Brothers to identify the new

17   copyrightable authorship added to the previously registered designs and to exclude

18   the previously registered material from its claims. 60

19            Finally, the facts presented in the Order and Neman Brothers’ filings to the

20   Court leave unanswered critical questions about whether the works purchased from

21   third parties were published before Neman Brothers made its modifications.

22
         55
            See 17 U.S.C. § 101 (defining “derivative work”).
23       56
            COMPENDIUM (THIRD) § 507.2.
24       57
            See id. § 507.2.
         58
            Dep. of Yoel Neman 88:8–13; 89:2–7, ECF No. 66-2.
25       59
            See COMPENDIUM (THIRD) §§ 311.1, 311.2.
26
         60
            Id. § 621.1.

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 1   Transfer Statement
 2            In addition, the registration specialists would have probed how Neman
 3   Brothers obtained copyright ownership in the third-party authored elements
 4   claimed in the collections by confirming whether ownership was claimed via joint
 5   authorship or transferred via written agreement. As discussed above, unless the
 6   work is a joint work, if the claimant is not the sole author of the works in the
 7   collection, then the applicant must include a transfer statement explaining how the
 8   claimant obtained ownership of the copyright. If Neman Brothers purchased
 9   completed designs and then created modified versions of those designs, the
10   claimed works would not meet the statutory definition of a joint work, which
11   requires that the authors prepare the work “with the intention that their
12   contributions be merged into inseparable or interdependent parts of a unitary

13   whole.”61 Neman Brothers would have thus been required to provide a statement

14   explaining how it obtained copyright ownership of the third-party authored

15   works. 62

16   Supplementary Registration

17            A supplementary registration may be used to correct certain errors or

18   amplify the information provided in a copyright registration.63 As relevant here,

19   the current version of the COMPENDIUM (THIRD) provides that a supplementary

20   registration can be used to correct an error or omission in a basic registration

21
22
          17 U.S.C. § 101 (defining “joint work”).
         61
23        Id. § 409(5); COMPENDIUM (THIRD) § 1106.3(G).
         62

24     63
          17 U.S.C. § 408(d); 37 C.F.R. § 202.6; U.S. COPYRIGHT OFFICE,
     COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES § 1802 (3d ed. 2021) (“2021
25   COMPENDIUM (THIRD)”).
26

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 1   involving the author(s) of the work. 64 For instance, missing authors and transfer
 2   statements may be added to the registration record with a supplementary
 3   registration. 65 The claim to copyright may also be amended to cover the works that
 4   were eligible for the unpublished collection option and excise non-eligible works.66
 5   Please note, however, that the Office may decline to issue a supplementary
 6   registration when it is aware that there is actual or prospective litigation involving
 7   a basic registration (1) if the proposed change would be directly at issue in the
 8   litigation, and (2) if the proposed amendment may confuse or complicate the
 9   pending dispute. 67 In such cases, the Office typically stays its consideration of the
10   supplementary registration application until the applicant confirms in writing that
11   the dispute has been resolved. 68
12                                        CONCLUSION
13            After review of the available facts in this action and application of the

14   relevant law, regulations, and the Office’s practices, the Register hereby advises

15   the Court that the Office would have refused registration for the subject

16   applications if it had been aware of the errors in Neman Brothers’ copyright

17   applications.

18
19   Dated:          April 6, 2022                    _________________________

20                                                    Shira Perlmutter

21
22       64
            2021 COMPENDIUM (THIRD) § 1802.6(D).
         65
            Id. § 1802.6(D).
23       66
            Id. § 1802.6(J). Non-eligible works, i.e., works for which Neman Brothers
24   obtained copyright ownership but did not contribute copyrightable authorship, may
     be registered separately.
25       67
            Id. § 1802.9(G).
         68
26          Id.

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 1                                          Register of Copyrights and Director
 2                                          of the U.S. Copyright Office
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